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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

 CALEB ELMORE                                                                          PLAINTIFF

 v.                                                       CIVIL ACTION NO 3:18CV-053-RGJ

 BELLARMINE UNIVERSITY                                                               DEFENDANT


                         ORDER FOR SETTLEMENT CONFERENCE

        IT IS HEREBY ORDERED that this action is scheduled for settlement negotiations

 commencing at 10:30 a.m., Eastern Time, on Thursday, January 3, 2019, in Chambers, Room

 200, Gene Snyder U.S. Courthouse, Sixth and Broadway, Louisville, Kentucky. Counsel are

 directed to confer with their clients in advance of the conference to explore the party’s settlement

 position, and the parties are encouraged to exchange written settlement proposals at least thirty

 (30) days prior to the conference. These steps will enable the conference to progress more

 expeditiously.

        COUNSEL ARE DIRECTED TO REVIEW THE ENTIRETY OF THIS

 SETTLEMENT CONFERENCE ORDER AND ADDENDUM IN DETAIL.

        Each party shall submit a confidential settlement statement to the Magistrate Judge by e-

 mail to ashley_henry@kywd.uscourts.gov for receipt by the Magistrate Judge at least seven (7)

 court days prior to the conference. The settlement statement shall contain a specific recitation of

 the facts, a discussion of the strengths and weaknesses of the case, the parties’ position on

 settlement, including a present settlement proposal, and a report on settlement efforts to date. If

 not already part of the court file, copies of any critical agreements, business records,

 photographs or other documents or exhibits shall be attached to the settlement statement. The

 settlement statement should not be lengthy, but should contain enough information to be useful

 to the magistrate judge in analyzing the factual and legal issues in the case. The parties are

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 directed to be candid in their statements. The settlement statement shall not become a part of the

 file of the case, but shall be for the exclusive use of the magistrate judge in preparing for and

 conducting the settlement. The settlement statement shall not be filed with the clerk, and copies

 of the settlement statement shall not be provided to the other parties in the case. Failure of any

 party to timely submit their conference statement may result in the mediation being rescheduled,

 with the party responsible to bear all associated costs.

        At the conference, counsel who will actually try the case and each party, armed with full

 settlement discretion, shall be present. If a corporation or other collective entity is a party, a duly

 authorized officer or managing agent of that party shall be present. This means that each party

 must attend through a person who is fully authorized to approve a settlement and has the power

 to change the party's settlement posture during the course of the conference. If the party

 representative has a limit, or "cap" on his or her authority which would require telephone

 consultation with corporate offices, this requirement is not satisfied. COMPLIANCE WITH

 THIS PROVISION IS CRITICAL.

        The attached addendum is incorporated into and made a part of this order. DO NOT

 FAIL TO REVIEW THIS ADDENDUM. Failure to comply with any provision of this order,

 including the addendum, may lead to the award of sanctions, including but not limited to an

 award of costs, attorneys’ fees and travel expenses.




 Copies to Counsel of Record                                    November 9, 2018




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                  ADDENDUM TO SETTLEMENT CONFERENCE ORDER

        1. Who must come? The most frequent problem in a settlement conference is the failure

 of a party to attend through a principal. To be perfectly plain: do not fail to bring a fully

 authorized client representative to the settlement conference. No lawyer, no matter how

 knowledgeable about the case and skillful in negotiation, is a substitute for a live client. Having

 the client available by telephone is not acceptable. The client must be personally present in the

 settlement conference.

        The next most frequently asked question is when a representative is fully authorized.

 Please refer to the text of the settlement conference order, which is quite explicit. Principals with

 caps on their authority who must “call the home office” to authorize acceptance of an offer are

 not acceptable. The point of the settlement conference is to have the final decision-making

 representatives personally participate in the settlement conference and hear the presentations of

 the opposite side. Having an inadequately authorized principal defeats one of the essential

 purposes of the settlement conference.

        If you believe your case presents an exceptional circumstance which would justify a

 variance from these rules, you must contact the Magistrate Judge’s office no later than the date

 that your settlement statement is due to request a waiver. Waivers are granted only by the

 Magistrate Judge and only on a showing of specific facts constituting exceptional circumstances.

        2. Schedule Questions. Counsel should allow a minimum of 4 hours for the settlement

 conference. It is possible that the Magistrate Judge may be interrupted with a short criminal

 hearing, but the settlement conference will continue throughout the day until concluded.

 Requests to reschedule a previously scheduled settlement conference must be made by written

 motion filed with the Court as soon as counsel becomes aware of any circumstance that in

 counsel’s professional judgment would justify the Court rescheduling the conference. In no

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 event shall such a written motion be filed later than ten (10) days prior to the originally

 scheduled date, except in those rare instances that involve an unanticipated emergency that

 makes attendance on the originally scheduled date impossible. In such extraordinary situations,

 the affected counsel shall arrange with opposing counsel to jointly contact Ashley Henry

 immediately to request a new date. The Magistrate Judge reserves sole discretion to determine

 whether circumstances justify rescheduling a previously chosen date. Dates for settlement

 conferences are ordinarily chosen with the participation and agreement of counsel. Requests to

 change previously agreed upon dates should therefore be rare.

        3. Damage Calculations. It is the Magistrate Judge’s experience that parties appear

 frequently at settlement conferences fully prepared to argue liability with passion but without

 any detailed analysis of damages. This is not productive to the settlement conference process.

 Accordingly, all parties are directed to be prepared to present in detail, and with reference to

 supporting documents if so ordered, a thorough analysis of the potential categories and amounts

 of damages which might reasonably be awarded at trial if plaintiff prevails in whole or in part.

 This provision applies to defendant(s) with equal force.




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